Case 7:19-cv-00055-EKD Document 11 Filed 02/21/19 Page 1 of 2 Pageid#: 565




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Alexandria Division

JAMES B. FEINMAN,                               )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )    Case No.: 7:19-cv-55-EKD
                                                )
VOLKSWAGEN GROUP OF                             )
AMERICA, INC.,                                  )
                                                )
       Defendant.                               )

                                  ORDER STAYING CASE
                    PENDING RESOLUTION OF MOTION TO ENJOIN

        In consideration of the parties' Joint Stipulation to Stay Case Pending Resolution of Motion

to Enjoin, it is hereby

                                           ORDERED

as follows:

        I.      Plaintiffs Motion to Remand and Defendant' s Motion to Stay are hereby stayed

pending resolution of Defendant's motion in the multidistrict litigation, In re Volkswagen "Clean

Diesel " Mktg. , Sales Practices, & Prods. Liab. Litig. , No. 15-md-2672 (N.D. Cal.) (the "MDL"

and the "MDL Court"), to enforce the MDL Court' s October 25 , 2016 Order approving a class

action settlement in the MDL and enjoining Plaintiff from pursuing the claim asserted in this action

(the "MDL Motion").

        2.      All pretrial matters in this case are hereby stayed pending resolution of the MDL

Motion.

        3.      The parties shall promptly notify this Court after the MDL Court has decided the

MDL Motion.
Case 7:19-cv-00055-EKD Document 11 Filed 02/21/19 Page 2 of 2 Pageid#: 566




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      DATED: This   _gl_ day ofFebruary, 2019.


                                                 Hon. Elizabeth K. Dillon
                                                 United States District Court Judge




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